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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


United States of America,

      V,                                                 Case No. 2:17-cr-108
                                                         Judge Michael H. Watson
William Elschlager,



                                         ORDER

      This matter is before the Court upon Defendant's Motion for Continuance of the
Trial Date. Defense counsel needs additional time to prepare for trial.
       Upon consideration of the Defendant's Motion for Continuance of the Trial Date,

the Court finds that the Motion is meritorious. In reaching this conclusion, the Court
makes the following findings:
       1.    The Court is available to try the case on Monday. January 8.2018 at
             9:00 a.m.;

      2.     On September 22,2017, the Defendant moved this Court for a

             continuance to have additional time to prepare for this trial.
      3.     Failure to grant said continuance pursuant to Title 18 U.S.C. Section
             3161(h)(8)(B) will likely result in a miscarriage of justice.
      4.     The Defendant waives his right to a speedy trial for the period of this
             continuance.

      5.     The considerations outlined above are appropriate reasons for granting
             the requested continuance.

     6.     The interest of the public in speedy trials would not be impaired by a
            continuance of this case until Monday. January 8. 2018 at 9:00 a.m., with
            voir dire to begin at 9:30 a.m. on that same date.
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      Therefore, given the Court's findings, the Defendant's Motion for a Continuance is

hereby GRANTED. The trial in this matter is hereby CONTINUED until Monday.

January 8.2018 at 9:00 a.m. Voir dire will be conducted at 9:30 a.m. on that same

date. A final pretrial conference will be held on Wednesday. January 3.2018 at 10:30

a.m. in Courtroom 3. Any and all motions, including any motions in limine shall be

submitted to the Court by December 27,2017.

      The Court requests counsel for both the Government and the Defendant to

submit proposed jury instructions on the substantive law in this case by December 27,

2017. In addition, the Court requests counsel to submit brief issues and/or questions
regarding this case for the Court to address during voir dire by December 27,2017.
Both the proposed jury instructions and voir dire issues may be submitted electronically
to the Court at: watson chambers(3)ohsd.uscourts.aov.



             IT IS SO ORDERED.


                                                 lichael H. Watson, Judge
                                               United States District Court
